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                    NOTE: This order is nonprecedential.


         United States Court of Appeals
             for the Federal Circuit
                             ______________________

             NATIONAL VETERANS LEGAL SERVICES
             PROGRAM, NATIONAL CONSUMER LAW
               CENTER, ALLIANCE FOR JUSTICE,
                     Plaintiffs-Respondents

                                             v.

                               UNITED STATES,
                              Defendant-Petitioner
                             ______________________

                                    2018-154
                             ______________________

           On Petition for Permission to Appeal pursuant to 28
      U.S.C. Section 1292(b) from the United States District
      Court for the District of Columbia in No. 1:16-cv-00745-
      ESH, Judge Ellen S. Huvelle.
      ---------------------------------------------------------------------------------

             NATIONAL VETERANS LEGAL SERVICES
             PROGRAM, NATIONAL CONSUMER LAW
               CENTER, ALLIANCE FOR JUSTICE,
                      Plaintiffs-Petitioners

                                             v.

                               UNITED STATES,
                              Defendant-Respondent
                             ______________________
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      Case: 18-155   Document: 10 Page: 2 Filed: 10/16/2018




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                              2018-155
                       ______________________

         On Petition for Permission to Appeal pursuant to 28
      U.S.C. Section 1292(b) from the United States District
      Court for the District of Columbia in No. 1:16-cv-00745-
      ESH, Judge Ellen S. Huvelle.
                      ______________________

                           ON PETITION
                       ______________________
       Before PROST, Chief Judge, NEWMAN and LOURIE, Circuit
                              Judges.
      LOURIE, Circuit Judge.
                               ORDER
          The parties both petition for permission to appeal an
      order of the United States District Court for the District
      of Columbia concerning the extent to which fee revenue
      generated by the federal judiciary’s Public Access to Court
      Electronic Records (“PACER”) system may be used for
      purposes other than the operation of PACER.
            This case arises out of a class action brought by Na-
      tional Veterans Legal Services Program, National Con-
      sumer Law Center, and Alliance for Justice (collectively,
      “the plaintiffs”) against the United States, alleging that
      fees charged for using PACER from 2010 to 2016 violated
      28 U.S.C. § 1913 note, as amended by the E-Government
      Act of 2002. That provision states, in relevant part, “[t]he
      Judicial Conference may, only to the extent necessary,
      prescribe reasonable fees . . . for collection by the courts
      . . . for access to information available through automatic
      data processing equipment. . . . [These fees] shall be
      deposited as offsetting collections to the Judiciary Auto-
      mation fund . . . to reimburse expenses incurred in provid-
      ing these services.” 28 U.S.C. § 1913 note.
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          After the district court denied the United States’ mo-
      tion to dismiss the complaint for failing to establish a
      cognizable claim for damages under the Little Tucker Act,
      28 U.S.C. § 1346(a), the parties filed cross-motions for
      summary judgment of liability. The plaintiffs argued that
      the E-Government Act barred the judiciary from using
      PACER fees for anything other than the marginal cost of
      operating PACER. The government asserted that PACER
      fees can be spent on any expenditure involving the dis-
      semination of information through electronic means.
          The district court adopted neither party’s position.
      Instead, it determined that revenue from the PACER
      system may be used only for “expenses incurred in provid-
      ing services . . . that are part of providing the public with
      access to electronic information maintained and stored by
      the federal courts on its CM/ECF docketing system.”
      Nat’l Veterans Legal Servs. Program v. United States, 291
      F. Supp. 3d 123, 149 (D.D.C. Mar. 31, 2018). On this
      basis, the district court ruled that several categories of
      the judiciary’s expenditures were impermissible but also
      rejected the plaintiffs’ position that the class was entitled
      to fees paid in excess of the amount necessary to recoup
      the total marginal cost of operating PACER.
           At the request of both parties, the district court certi-
      fied its summary judgment order for interlocutory appeal
      and stayed further proceedings. The district court noted
      that the issue to be appealed was a purely legal one, that
      the issue was one of first impression, and that interlocu-
      tory appeal would materially advance the litigation
      because “before proceeding to a potentially lengthy and
      complicated damages phase based on an interpretation of
      the statute that could be later reversed on appeal, it is
      more efficient to allow the Federal Circuit an opportunity
      first to determine what the statute means.”
          Under 28 U.S.C. § 1292(b), a district court may certify
      that an order that is not otherwise appealable is one
      involving a controlling question of law as to which there is
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      substantial ground for difference of opinion and for which
      an immediate appeal may materially advance the ulti-
      mate termination of the litigation. Ultimately, this court
      must exercise its own discretion in deciding whether it
      will grant permission to appeal an interlocutory order.
      See In re Convertible Rowing Exerciser Patent Litig., 903
      F.2d 822, 822 (Fed. Cir. 1990). Having considered the
      petitions, we agree with the parties and the district court
      that interlocutory review is appropriate here.
            Accordingly,
            IT IS ORDERED THAT:
            The petitions are granted.
                                         FOR THE COURT

                                         /s/ Peter R. Marksteiner
                                         Peter R. Marksteiner
                                         Clerk of Court
      s25
